Case 2:16-cr-00034-WFN ECF No. 164 _ filed 01/09/17 PagelD.549 Page 1of1

& PS 8 FED IN THE
(3/15) US. DISTRICT COURT
EASTERN DISTRICT OF WASHINGTON

UNITED STATES DISTRICT COURT JAN 09 2017
for BEANE McaAvey, Cee pUTY
"SPOKANE WASHINGTON
Eastern District of Washington
U.S.A. vs. Rowe, Shaunte Lamar Docket No. 2:16CR00034-WFN-2

Petition for Action on Conditions of Pretrial Release

COMES NOW Erik Carlson, PRETRIAL SERVICES OFFICER presenting an official report upon the conduct of defendant
Shaunte Lamar Rowe, who was placed under pretrial release supervision by the Honorable U.S. Magistrate Judge John T.
Rodgers sitting in the court at Spokane, Washington, on the 2™ day of May 2016, under the following conditions:
Special Condition #18: Refrain from any use of alcohol.

RESPECTFULLY PRESENTING PETITION FOR ACTION OF COURT FOR CAUSE AS FOLLOWS:

Violation #1: The defendant admitted to ingesting alcohol on or about November 26, 2016.

PRAYING THAT THE COURT WILL ORDER NO ACTION AT THIS TIME

 

I declare under the penalty of perjury
that the foregoing is true and correct.

Executed on: January 6, 2017
by s/Erik Carlson

Erik Carlson
U.S. Pretrial Services Officer

 

THE COURT ORDERS

No Action

The Issuance of a Warrant

The Issuance of a Summons

The incorporation of the violation(s) contained in this
petition with the other violations pending before the
Court.

Defendant to appear before the Judge assigned to the case.
Defendant to appear before the Magistrate Judge.

Other

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Signature of Judicial Officer

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Date
